




Becker v. State



COURT OF APPEALS


EIGHTH DISTRICT OF TEXAS


EL PASO, TEXAS





DOMONIQUE GOOCH,


                                    Appellant,


v.


THE STATE OF TEXAS,


                                    Appellee. 

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No. 08-07-00277-CR



Appeal from


 Criminal District Court No. 1


of Dallas County, Texas


(TC #F-0372146-H)




MEMORANDUM OPINION



	Pending before the Court is Appellant's motion to dismiss this appeal pursuant to
Tex.R.App.P. 42.2(a).  As required by that rule, the withdrawal of the notice of appeal is signed by
Appellant.  Further, the Clerk of this Court has forwarded a duplicate copy of the written withdrawal
to the clerk of the trial court.  Because Appellant has established compliance with the requirements
of Rule 42.2(a), we grant the motion and dismiss the appeal.


January 17, 2008					                                                                         

							ANN CRAWFORD McCLURE, Justice


Before Chew, C.J., McClure, and Carr, JJ.


(Do Not Publish)


